Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 1 of 36 PageID: 183




                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


  MARC A. STEPHENS,                                  Civil Action No.

              Plaintiff,                         2:22-cv-01940-MCA-JBC


  v.

  EQUIFAX, INC., EQUIFAX
  INFORMATION SERVICES, LLC,
  EQUIFAX CONSUMER SERVICES,
  LLC, EXPERIAN INFORMATION
  SOLUTIONS, INC, SYNCHRONY
  FINANCIAL, PAYPAL, INC., and
  PAYPAL HOLDINGS, INC.

              Defendants.


        MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS
       PAYPAL, INC. AND PAYPAL HOLDINGS, INC.’S MOTION TO
       COMPEL ARBITRATION OR DISMISS IN THE ALTERNATIVE

                               SAUL EWING ARNSTEIN & LEHR LLP
                               A Delaware LLP
                               Ryan L. DiClemente, Esq. (043352006)
                               Kellie A. Lavery, Esq. (029882002)
                               650 College Road East, Suite 4000
                               Princeton, New Jersey 08540
                               T: (609) 452-3100
                               F: (609) 452-3122
                               Ryan.DiClemente@saul.com
                               Kellie.Lavery@saul.com
                               Attorneys for Defendants
                               PayPal, Inc and PayPal Holdings, Inc.
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 2 of 36 PageID: 184




                                       TABLE OF CONTENTS
 I.     INTRODUCTION ........................................................................................... 1
 II.    STATEMENT OF FACTS .............................................................................. 2
 III.   ARGUMENT ................................................................................................... 6
        A.       Plaintiff’s Claims Against PayPal and PayPal Holdings Must
                 Be Arbitrated ......................................................................................... 6
                 1.       Applicable Federal Law Favors Arbitration ............................... 6
                 2.       The User Agreement is a Valid Contract that Contains an
                          Enforceable Arbitration Provision .............................................. 8
                 3.       Plaintiff’s Claims Fall Squarely Within the Scope of the
                          Arbitration Provision ................................................................ 10
        B.       In the Alternative, Plaintiff’s Claims Against PayPal and
                 PayPal Holdings Must be Dismissed as a Matter of Law ................... 13
                 1.       Motion to Dismiss Standard...................................................... 13
                 2.       Plaintiff Fails to Plead Any Viable Claims Against
                          PayPal Holdings, PayPal’s Parent Company ............................ 14
                 3.       Plaintiff’s Claims of Defamation, Fraud, and Intentional
                          Infliction of Emotional Distress are Preempted by the
                          FCRA ........................................................................................ 16
                 4.       Plaintiff’s Individual Causes of Action Against PayPal
                          and PayPal Holdings Fail .......................................................... 18
                          i.        Plaintiff Fails to State a Claim For Defamation ............. 18
                          ii.       Plaintiff’s Fraud Claim Fails As A Matter of Law ......... 20
                          iii.      Plaintiff’s FCRA Claims Must be Dismissed
                                    against PayPal and PayPal Holdings .............................. 21
                          iv.       Plaintiff Fails to State Viable Claims for Breach of
                                    Contract and Breach of Good Faith and Fair
                                    Dealing ............................................................................ 25
                          v.        Plaintiff Has Not And Cannot State a Claim for
                                    Intentional Infliction of Emotional Distress
                                    Against PayPal or PayPal Holdings ............................... 28
 IV.    CONCLUSION.............................................................................................. 30




                                                           i
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 3 of 36 PageID: 185




                                      TABLE OF AUTHORITIES

                                                                                                            Page(s)

 Cases

 Alidments Krispy Kernels, Inc. v. Nichols Farms,
    851 F.3d 283 (3d Cir. 2017) ................................................................................. 7

 Ashcroft v. Iqbal,
    556 U.S. 662 (2009) ................................................................................13, 14, 19

 B&B Fin. Servs., LLC v. RFGV Festivals, LLC,
   No. K18C-11-040, 2019 WL 5849770
   (Del. Super. Ct. Nov. 7, 2019) ............................................................................ 15

 Banco Popular N. Am. v. Gandi,
   184 N.J. 161 (2005) ............................................................................................ 20

 Bell Atlantic Corp. v. Twombly,
    550 U.S. 544 (2007) ............................................................................................ 13

 Bertollini v. Harrison,
    No. 18-15355, 2019 WL 2296150 (D.N.J. May 30, 2019) ................................ 17

 Buckley v. Trenton Savings Fund Society,
   111 N.J. 355 (1988) ............................................................................................ 29

 Burrell v. DFS Servs., LLC,
   753 F. Supp. 2d 438 (D.N.J. 2010) ..................................................................... 17

 C.R. Bard, Inc. v. Guidant Corp.,
    997 F. Supp. 556 (D. Del. 1998)......................................................................... 15

 Century Indem. Co. v. Certain Underwriters at Lloyd’s, London,
   584 F.3d 513 (3d Cir. 2009) ............................................................................... 11

 Cheng v. PayPal, Inc.,
   No. 21-cv-03608, 2022 WL 126305 (N.D. Cal. Jan. 13, 2022) ......................... 10

 Chiang v. Verizon New England Inc.,
   595 F.3d 26 (1st Cir. 2010) ................................................................................. 24




                                                           ii
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 4 of 36 PageID: 186




 Cumberland Cnty. Improvement Auth. v. GSP Recycling Co.,
   358 N.J. Super. 484 (App. Div. 2003) ................................................................ 25

 Davenport v. Capio Partners LLC,
   No. 1:20-cv-01700, 2021 WL 1666977 (M.D. Pa. Apr. 28, 2021),
   reconsideration denied, No. 1:20-cv-01700, 2022 WL 202952
   (M.D. Pa. Jan. 21, 2022) ..................................................................................... 21

 Dean Witter Reynolds, Inc. v. Byrd,
   470 U.S. 213 (1985) .............................................................................................. 6

 Dufresne v. PayPal, Inc.,
   No. 8:21-cv-560, ECF No. 12 (M.D. Fla. April 6, 2021) ................................... 10

 E.I. DuPont de Nemours & Co. v. Rhone Poulenc Fiber & Resin
    Intermediates, S.A.S.,
    269 F.3d 187 (3d Cir. 2001) ............................................................................... 15

 Ebner v. Fin. Architects, Inc.,
   763 F. Supp. 2d 697 (D. Del. 2011)...................................................................... 8

 Egues v. Nelnet Servicing, LLC,
   No. 21-802, 2021 WL 3486904 (D.N.J. Aug. 9, 2021) ...................................... 23

 Evans et al. v. PayPal, Inc.,
   No. 22-cv-00248, 2022 WL 1813993 (N.D. Cal. June 2, 2022) ........................ 10

 Evonik Corp. v. Hercules Grp., Inc.,
   No. 16-7098, 2018 WL 5095991 (D.N.J. Oct. 18, 2018) ................................... 27

 Farren v. RJM Acquisition Funding, LLC,
   No. 04-995, 2005 WL 1799413 (E.D. Pa. July 26, 2005) .................................. 21

 Friends for Health: Supporting N. Shore Health Ctr. v. PayPal, Inc.,
    No. 17-cv-1542, 2018 WL 2933608 (N.D. Ill. June 12, 2018) .......................... 10

 G.D. v. Kenny,
   205 N.J. 275 (2011) ............................................................................................ 18

 Garcia v. Midland Funding, LLC,
   No. 15-6119, 2017 WL 1807563 (D.N.J. May 5, 2017) ...................................... 7




                                                          iii
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 5 of 36 PageID: 187




 Gatanas v. Am. Honda Fin. Corp.,
   No. 20-07788, 2020 WL 7137854 (D.N.J. Dec. 7, 2020) .................................. 23

 Hunt v. JPMorgan Chase Bank, Nat’l Ass’n,
   770 F. App’x 452 (11th Cir. 2019) ..................................................................... 24

 JLM Indus., Inc. v. Stolt–Nielsen SA,
   387 F.3d 163 (2d Cir. 2004) ............................................................................... 13

 John Hancock Mut. Life Ins. Co. v. Click,
    151 F.3d 132 (3d Cir. 1998) ................................................................................. 7

 Kuroda v. SPJS Holdings, L.L.C.,
   971 A.2d 872 (Del. Ch. 2009) ................................................................26, 27, 28

 Morehouse v. PayPal, Inc.,
   No. 21-cv-4012, 2022 WL 912966 (S.D.N.Y. Mar. 28, 2022) .......................... 10

 Myers v. Midland Credit Mgmt., Inc.,
   No. 1:13-cv-2455, 2014 WL 981311 (M.D. Pa. Mar. 13, 2014) ........................ 24

 Nezri v. PayPal, Inc.,
   No. 22-cv-02112, ECF No. 14 (C.D. Cal. June 13, 2022) ................................. 10

 Osborn ex rel. Osborn v. Kemp,
   991 A.2d 1153 (Del. 2010) ................................................................................... 8

 Phoenix Canada Oil Co. Ltd. v. Texaco, Inc.,
   842 F.2d 1466 (3d Cir. 1988) ............................................................................. 14

 Prograph Int’l Inc. v. Barhydt,
    928 F. Supp. 983 (N.D. Cal. 1996) ..................................................................... 12

 Shiyanbola v. Amazon, LLC,
    No. N17C-08-302, 2018 WL 1216098
    (Del. Super. Ct. Mar. 8, 2018) ......................................................................29, 30

 Stephenson v. Capano Dev., Inc.,
    462 A.2d 1069 (Del. 1983) ................................................................................. 20

 Trippe Mfg. Co. v. Niles Audio Corp.,
    401 F.3d 529 (3d Cir. 2005) ................................................................................. 7




                                                        iv
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 6 of 36 PageID: 188




 Tutanji v. Bank of Am.,
    No. 12-887, 2012 WL 1964507 (D.N.J. May 31, 2012) .................................... 17

 Video Pipeline, Inc. v. Buena Vista Home Ent., Inc.,
    275 F. Supp. 2d 543 (D.N.J. 2003) ..................................................................... 25

 Volt Info. Seis., Inc. v. Bd. of Trustees of Leland Stanford Junior
    Univ.,
    489 U.S. 468 (1989) .............................................................................................. 7

 Wade v. Kessler Institute,
   343 N.J. Super. 338 (App. Div. 2001) ................................................................ 27

 Washington v. Freedom Mortg.,
   No. 1:20-cv-09332, 2021 WL 1100637 (D.N.J. Mar. 23, 2021) ..................16, 17

 Wilcox & Fetzer, Ltd. v. Corbett & Wilcox,
    No. 2037-N, 2006 WL 2473665 (Del. Ch. Aug. 22, 2006) ................................ 12

 Winston v. Mandor,
   710 A.2d 835 (Del. Ch. 1997) ............................................................................ 25

 Wright v. Pepsi Cola Co.,
   243 F. Supp. 2d 117 (D. Del. 2003).................................................................... 18

 Statutes

 Fed. R. Civ. P. 12(b)(6).............................................................................................. 1

 9 U.S.C. § 2 ................................................................................................................ 6

 15 U.S.C. § 1681 et seq.....................................................................................passim

 Regulations

 16 C.F.R. § 660.2(c)................................................................................................. 22




                                                               v
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 7 of 36 PageID: 189




       Defendants PayPal, Inc. (“PayPal”) and PayPal Holdings, Inc. (“PayPal

 Holdings”), by and through their undersigned counsel, hereby submit this

 Memorandum of Law in Support of their Motion to Compel Arbitration or, in the

 alternative, dismiss Plaintiff Marc A. Stephens’ (“Plaintiff”) Complaint pursuant to

 Fed. R. Civ. P. 12(b)(6).

 I.    INTRODUCTION
       Plaintiff’s claims against PayPal and PayPal Holdings are subject to a valid

 and enforceable arbitration agreement and must dismissed. Plaintiff admits that his

 relationship with PayPal is governed by the terms of its User Agreement and further

 acknowledges this User Agreement is a “contract” between the parties.

 Notwithstanding, Plaintiff disregards the express arbitration provision that requires

 “any and all disputes or claims” between Plaintiff and PayPal be “resolved

 exclusively through final and binding arbitration.” Plaintiff’s claims are based on

 his contention that PayPal breached the terms of its User Agreement by refunding

 certain unauthorized transactions and restricting access to his PayPal Account.

 These claims fall squarely within the scope of the unambiguous and enforceable

 arbitration provision contained in the User Agreement. Accordingly, PayPal and

 PayPal Holdings respectfully request that the Court grant its Motion to Compel

 Arbitration and require Plaintiff to arbitrate his claims against PayPal and PayPal

 Holdings.



                                          1
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 8 of 36 PageID: 190




        In the alternative, Plaintiff’s individual claims against PayPal and PayPal

 Holdings fail to state a valid claim for relief and his entire pleading should be

 dismissed as a matter of law. First, Plaintiff fails to allege any facts that could sustain

 a claim against PayPal Holdings, PayPal’s parent company. Second, Plaintiff’s

 claims of defamation, fraud, and intentional infliction of emotional distress are

 preempted by the Fair Credit Reporting Act (“FCRA”). Third, Plaintiff fails to state

 a claim for breach of contract or breach of good faith and fair dealing, as these claims

 are precluded by the express terms of the User Agreement that is referenced and

 partially attached to Plaintiff’s Complaint. Finally, Plaintiff’s remaining claims of

 fraud, intentional infliction of emotional distress, and violations of the FCRA fail to

 sufficiently allege the fundamental elements of these claims as set forth in detail

 below. Thus, to the extent Plaintiff is not compelled to arbitrate his claims, his

 Complaint against PayPal and PayPal Holdings must nevertheless be dismissed in

 its entirety.

 II.    STATEMENT OF FACTS
        PayPal provides digital payment services that allow its users to buy, sell, and

 send money securely. (Certification of Jill Potter (“Potter Cert.”), ¶ 3); (DE 1,

 Complaint (“Compl.”) ¶ 7). Plaintiff alleges that he maintained an account with

 PayPal. (Compl., ¶ 13). Plaintiff further admits that PayPal users agree to PayPal’s

 User Agreement, which is a “contract” between it and its users. (Compl., ¶ 14).




                                             2
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 9 of 36 PageID: 191




 Plaintiff alleges that the User Agreement provides that “[b]y opening and using a

 PayPal account, you agree to comply with all terms and conditions of this user

 agreement.” (Compl., ¶ 80).

       PayPal’s records indicate that Plaintiff created and registered a PayPal

 business account with an account number ending -7715 on October 25, 2017 (the

 “PayPal Account”). (Potter Cert., ¶¶ 10-11, Exhibit A). At the time Plaintiff

 created and registered the PayPal Account, PayPal required users to check a box

 confirming they have read and agreed to the User Agreement and click a button

 stating “Agree and Create Account” on the online registration form. (Potter Cert.,

 ¶ 8). The terms of the User Agreement are available for review through a bolded

 and underlined hyperlink contained within the acceptance prompt. (Potter Cert., ¶¶

 8-9). In order to create his account, Plaintiff was required to accept the terms of the

 User Agreement that was provided to him at the time he created his account by

 affirmatively checking a box and clicking a button indicating that he agreed to its

 terms. (Potter Cert., ¶¶ 6-8). A user cannot register for a PayPal account without

 agreeing to the terms and conditions of the User Agreement that is in operation at

 the time the user signs up. (Potter Cert., ¶ 7). PayPal’s internal records demonstrate

 that Plaintiff’s account was created on October 25, 2017 and he accepted the User

 Agreement on the same day (the “2017 User Agreement”). (Potter Cert., ¶ 12,

 Exhibit A).



                                           3
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 10 of 36 PageID: 192




        The 2017 User Agreement contains the terms and conditions governing the

  use of a PayPal account and PayPal services, including an Agreement to Arbitrate

  any disputes with PayPal. (Potter Cert., ¶¶ 13, 17, Exhibit B). It provides that “You

  and PayPal agree that any claim or dispute at law or equity that has arisen or may

  arise between us will be resolved in accordance with the Agreement to Arbitrate

  provisions set forth below” (the “Arbitration Provision”). (Potter Cert., ¶ 17,

  Exhibit B). The Arbitration Provision states:

        You and PayPal each agree that any and all disputes or claims that have
        arisen or may arise between you and PayPal, including without limitation
        federal and state statutory claims, common law claims, and those based in
        contract, tort, fraud, misrepresentation or any other legal theory, shall be
        resolved exclusively through final and binding arbitration, rather than in
        court, except that you may assert claims in small claims court, if your
        claims qualify and so long as the matter remains in such court and
        advances only on an individual (non-class, non-representative) basis. This
        Agreement to Arbitrate is intended to be broadly interpreted. The Federal
        Arbitration Act governs the interpretation and enforcement of this
        Agreement to Arbitrate.

  (Potter Cert., ¶ 20, Exhibit B, pg. 35).

        Plaintiff’s Complaint is based on certain alleged actions taken by PayPal

  and/or relating to the PayPal Account. Without distinguishing between the parties,

  Plaintiff alleges that PayPal and PayPal Holdings, which he simply refers to

  collectively as “PayPal” throughout his Complaint, “operate[] as a payment

  processor for online vendors worldwide… .” (Compl., ¶ 7). Plaintiff alleges that

  “PayPal’s User Agreement is a contract between PayPal and its Customers, such as




                                             4
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 11 of 36 PageID: 193




  Plaintiff Marc Stephens.”     (Compl., ¶ 14).     Plaintiff acknowledges the User

  Agreement provides that by opening and using his PayPal Account, users “agree to

  comply with all terms and conditions of this user agreement.” (Compl., ¶ 80).

        While Plaintiff’s Complaint is far from clear, he alleges that the “Defendants”:

  (i) improperly refunded an allegedly unauthorized transfer to his account; (ii)

  switched his account to automatic billing without his authorization; (iii) “shut down”

  his PayPal account after receiving his complaint; and (iv) inaccurately furnished

  credit information to the credit reporting agencies. (Compl., ¶¶ 10, 13, 18, 32).

  Many of the allegations do not distinguish between which “Defendant” is being

  referred to and instead, simply combine all seven “Defendants” into one

  indistinguishable group pleading. (Compl., ¶¶ 21 22, 25, 27, 32, 34-35, 38, 41-44,

  47-48, 52-53, 55, 57-60, 62-66). Based on these allegations, Plaintiff filed a

  Complaint against PayPal, PayPal Holdings, Synchrony Financial, Equifax, Inc.,

  Equifax Information Services LLC, Equifax Consumer Services LLC, and Experian

  Information Solutions, Inc., asserting the following causes of action against “all

  Defendants”:

             Defamation of Character (First Cause of Action);

             Willful Non-Compliance with the Fair Credit Reporting Act
              (“FCRA”) (Second Cause of Action);

             Negligent Non-Complaint with the Fair Credit Reporting Act
              (“FCRA”) (Third Cause of Action);



                                            5
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 12 of 36 PageID: 194




               Common Law Fraud (Fourth Cause of Action);

               Breach of Contract and Implied Covenant of Good Faith and Fair
                Dealing (Fifth Cause of Action); and

               Intentional Infliction of Emotional Distress (Sixth Cause of Action).
         As set forth in detail below, Plaintiff’s claims against PayPal and PayPal

  Holdings fall squarely within the scope of the Arbitration Provision and must be

  arbitrated. In the alternative, Plaintiff’s Complaint fails to adequately state a claim

  against PayPal and PayPal Holdings and must be dismissed.

  III.   ARGUMENT
  A.     Plaintiff’s Claims Against PayPal and PayPal Holdings Must Be
         Arbitrated

         1.      Applicable Federal Law Favors Arbitration

         The Federal Arbitration Act (“FAA”), which governs agreements to arbitrate

  implicating interstate commerce, provides that arbitration clauses “shall be valid,

  irrevocable, and enforceable, save upon such grounds as exist at law or in equity for

  the revocation of any contract.” 9 U.S.C. § 2. The FAA “leaves no place for the

  exercise of discretion by a district court, but instead mandates that district courts

  shall direct the parties to proceed to arbitration on issues as to which an arbitration

  agreement has been signed.” Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218

  (1985). “[T]he FAA pre-empts state laws which ‘require a judicial forum for the

  resolution of claims which the contracting parties agreed to resolve by arbitration.’”

  Volt Info. Seis., Inc. v. Bd. of Trustees of Leland Stanford Junior Univ., 489 U.S.


                                             6
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 13 of 36 PageID: 195




  468, 478 (1989) (citation omitted).

        In deciding whether to compel arbitration, the Court must determine “(1)

  whether a valid agreement to arbitrate exists and (2) whether the particular dispute

  falls within the scope of that agreement.” Trippe Mfg. Co. v. Niles Audio Corp., 401

  F.3d 529, 532 (3d Cir. 2005). “When determining both the existence and the scope

  of an arbitration agreement, there is a presumption in favor of arbitrability.” Id. To

  resolve whether a valid arbitration agreement exists, “the court must apply ordinary

  contractual principles, with a healthy regard for the strong federal policy in favor of

  arbitration.” John Hancock Mut. Life Ins. Co. v. Click, 151 F.3d 132, 137 (3d Cir.

  1998) (citation omitted); see also Alidments Krispy Kernels, Inc. v. Nichols Farms,

  851 F.3d 283, 288 (3d Cir. 2017) (“The legal standard is simply that we apply the

  relevant state contract law to questions of arbitrability....”). “[O]nly upon a showing

  of ‘fraud, duress, mistake, or some other ground recognized by the law applicable to

  contracts’ may the federal court find an arbitration clause to be invalid.” Garcia v.

  Midland Funding, LLC, No. 15-6119, 2017 WL 1807563, at *2 (D.N.J. May 5, 2017)

  (quoting Seus v. John Nuveen & Co., 146 F.3d 175,185 (3d Cir. 1998) (overruled on

  other grounds by Green Tree Financial Corp. Ala. v. Randolph, 531 U.S. 79 (2000)).

        For the reasons set forth below, Plaintiff’s claims must be arbitrated because

  they fall squarely within the scope of the valid and enforceable Arbitration

  Provision.



                                            7
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 14 of 36 PageID: 196




        2.     The User Agreement is a Valid Contract that Contains an
               Enforceable Arbitration Provision

         Plaintiff’s Complaint effectively admits that his claims against PayPal and

  PayPal Holdings are governed by an enforceable agreement to arbitrate. Pursuant

  to Delaware law, which governs the parties’ dispute, “a valid contract exists when

  (1) the parties intended that the contract would bind them, (2) the terms of the

  contract are sufficiently definite, and (3) the parties exchange legal consideration.” 1

  Osborn ex rel. Osborn v. Kemp, 991 A.2d 1153, 1158 (Del. 2010). As set forth

  below, Plaintiff’s own admissions and the undisputed facts demonstrate the

  existence of an enforceable agreement to arbitrate.

        Here, the elements necessary to establish the existence of an enforceable

  agreement to arbitration have been admitted by the Plaintiff in his pleading.

  Specifically, Plaintiff admits that the User Agreement is a valid “contract” between

  the parties. (Compl., ¶ 14). Plaintiff further admits that the User Agreement stated

  that “[b]y opening and using a PayPal account, you agree to comply with all of the

  terms and conditions of this user agreement.” (Compl., ¶ 80). The User Agreement



  1
    The User Agreement contains a Delaware choice-of-law provision, which governs
  the issue of the contract’s validity. (See Potter Cert., Exhibit B, at pg. 39). “When
  an agreement contains both a choice-of-law clause and an arbitration clause, the
  reviewing court will apply the substantive law of the state named in the choice of
  law clause.” See Ebner v. Fin. Architects, Inc., 763 F. Supp. 2d 697, 700 (D. Del.
  2011)(citing Mastrobuono v. Shearson Lehman Hutton, Inc., 514 U.S. 52, 63-64
  (1995)).


                                             8
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 15 of 36 PageID: 197




  also contained a clear and unambiguous Arbitration Provision that required “any and

  all disputes or claims that have arisen or may arise between you and PayPal,

  including without limitation federal and state statutory claims, common law claims,

  and those based in contract, tort, fraud, misrepresentation or any other legal theory,

  shall be resolved exclusively through final and binding arbitration, rather than in

  court… .” (Potter Cert., ¶ 20, Exhibit B, pg. 35). This Arbitration Provision was

  included in the User Agreement that was referenced in the Complaint and which

  Plaintiff admits was the operative “contract” between the parties. (Compl., ¶ 14).

  Thus, it is undisputed that a valid agreement between the parties exists and this

  agreement contains an unambiguous Arbitration Provision.

        Even if Plaintiff did not acknowledge the enforceability of the User

  Agreement, it is undisputed that Plaintiff consented to the terms of the User

  Agreement in consideration for opening his PayPal Account and was provided a

  copy of the User Agreement at that time. (Potter Cert., Exhibit B). As set forth

  above, Plaintiff was required to consent to the terms of the User Agreement by

  affirmatively acknowledging he read and accepted its terms by clicking a button at

  the time he registered his account. (Potter Cert., ¶ 8). In fact, Plaintiff could not

  create an account without accepting these terms. (Potter Cert., ¶ 6). The User

  Agreement, which Plaintiff acknowledged he read and accepted, contained an

  Arbitration Provision, which governs the terms of his dispute. Courts have routinely



                                            9
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 16 of 36 PageID: 198




  enforced and compelled arbitration pursuant to the valid and enforceable arbitration

  provision contained in PayPal’s User Agreement.2

         The User Agreement, and the Arbitration Provision contained therein, create

  a valid and enforceable agreement between PayPal, PayPal Holdings, and Plaintiff.

         3.    Plaintiff’s Claims Fall Squarely Within the Scope of the
               Arbitration Provision

         All of Plaintiff’s claims against PayPal and PayPal Holdings are within the

  clear scope of the broad Arbitration Provision governing disputes between the

  parties.

         “[O]nce a court has found that there is a valid agreement to arbitrate, . . . the

  determination of whether a particular dispute is within the class of those disputes

  governed by the arbitration clause is a matter of federal law.” Century Indem. Co.




  2
   See Cheng v. PayPal, Inc., No. 21-cv-03608, 2022 WL 126305, at *5 (N.D. Cal.
  Jan. 13, 2022); see also Friends for Health: Supporting N. Shore Health Ctr. v.
  PayPal, Inc., No. 17-cv-1542, 2018 WL 2933608, at *6 (N.D. Ill. June 12, 2018)
  (enforcing the User Agreement’s arbitration provision and granting PayPal’s motion
  to compel arbitration); Morehouse v. PayPal, Inc., No. 21-cv-4012, 2022 WL
  912966, at *8 (S.D.N.Y. Mar. 28, 2022) (compelling arbitration based on PayPal
  debit card cardholder agreement); Nezri v. PayPal, Inc., No. 22-cv-02112, ECF No.
  14 (C.D. Cal. June 13, 2022) (granting PayPal’s motion to dismiss and compel
  arbitration based on PayPal agreement); Evans et al. v. PayPal, Inc., No. 22-cv-
  00248, 2022 WL 1813993, at *5 (N.D. Cal. June 2, 2022) (finding PayPal agreement
  contained valid and enforceable arbitration agreement, and compelling arbitration
  and dismissing the case); Dufresne v. PayPal, Inc., No. 8:21-cv-560, ECF No. 12
  (M.D. Fla. April 6, 2021) (same).


                                            10
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 17 of 36 PageID: 199




  v. Certain Underwriters at Lloyd’s, London, 584 F.3d 513, 524 (3d Cir. 2009)

  (internal quotation marks omitted). Under federal law, “[i]n determining whether

  the particular dispute falls within a valid arbitration agreement’s scope, there is a

  presumption of arbitrability:” arbitration “should not be denied unless it may be said

  with positive assurance that the arbitration clause is not susceptible of an

  interpretation that covers the asserted dispute.” Id. (internal quotation marks

  omitted).

        The express written terms of the User Agreement demonstrate that all of

  Plaintiff’s claims fall within the scope of the arbitration agreement. The User

  Agreement broadly calls for arbitration of all claims between Plaintiff and PayPal,

  “including without limitation federal and state statutory claims, common law claims,

  and those based in contract, tort, fraud, misrepresentation or any other legal theory.”

  (See Potter Cert.; Exhibit B, pg. 35).

        Here, Plaintiff’s claims arise from his PayPal Account and his claims that

  PayPal improperly refunded an alleged unauthorized payment, put a hold on his

  account, and inaccurately reported him to the credit reporting agencies. (Compl., ¶¶

  10, 11, 34). Plaintiff’s defamation, breach of contract, fraud, intentional infliction

  of emotional distress, and FCRA claims arise from these allegations and therefore

  fall within the broad scope of the Arbitration Provision that requires “any and all

  disputes or claims” between PayPal and Plaintiff to be arbitrated.



                                            11
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 18 of 36 PageID: 200




        While PayPal Holdings, PayPal’s corporate parent, is not a signatory to the

  User Agreement, the Arbitration Provision still mandates Plaintiff’s claims against

  it be arbitrated. Under Delaware law, non-signatories to a contract may enforce

  arbitration where (i) a signatory relies upon the terms of the agreement to assert

  claims against the non-signatory or; (ii) where the signatory raises allegations of

  concerted actions between the non-signatory and the signatory to the agreement. See

  Wilcox & Fetzer, Ltd. v. Corbett & Wilcox, No. 2037-N, 2006 WL 2473665, at *5

  (Del. Ch. Aug. 22, 2006). As set forth in detail above, Plaintiff’s claims do not

  distinguish between PayPal, PayPal Holdings, or the other Defendants for that

  matter.   Instead, Plaintiff’s claims against the “Defendants,” including PayPal

  Holdings, are largely based on, and arise out of the User Agreement that contains

  the Arbitration Provision. Further, courts routinely enforce arbitration provisions

  for claims brought against corporate parents, like PayPal Holdings here, where the

  claims are indistinguishable. See Prograph Int’l Inc. v. Barhydt, 928 F. Supp. 983,

  990 (N.D. Cal. 1996) (holding that “[a]gency principles have been held to permit

  non-signatory corporations to compel arbitration under arbitration clauses signed by

  their corporate parents, subsidiaries, or affiliates, at least when the allegations

  against the non-signatory corporation do not differ substantially from those against

  its signatory affiliate.”); see JLM Indus., Inc. v. Stolt–Nielsen SA, 387 F.3d 163, 178

  (2d Cir. 2004) (holding that non-signatory parent company could compel arbitration



                                            12
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 19 of 36 PageID: 201




  based on agreement signed by subsidiary);

        As such, Plaintiff’s claims against PayPal and PayPal Holdings clearly fall

  within the scope of the Arbitration Provision and must be arbitrated.

  B.    In the Alternative, Plaintiff’s Claims Against PayPal and PayPal
        Holdings Must be Dismissed as a Matter of Law

        1.     Motion to Dismiss Standard

        While a court must accept a party’s factual allegations as true, those “[f]actual

  allegations must be enough to raise a right to relief above the speculative level.” Bell

  Atlantic Corp. v. Twombly, 550 U.S. 544, 545 (2007). In Twombly, the Supreme

  Court held that “Rule 8(a)(2) … requires a ‘showing’ rather than a blanket assertion,

  of entitlement to relief [and]…[w]ithout some factual allegation[s] in the complaint,

  it is hard to see how a claimant could satisfy the requirement of providing not only

  ‘fair notice’ of the nature of the claim, but also ‘grounds’ on which the claim rests.”

  Twombly, 550 U.S. at 555, n.3.

        The Supreme Court elaborated on the Twombly decision in Ashcroft v. Iqbal,

  556 U.S. 662 (2009). In Iqbal, the Supreme Court found that the motion to dismiss

  standard does not require a court to accept a party’s legal conclusions as true and

  “[t]hreadbare recitals of the elements of a cause of action, supported by mere

  conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678 (citing Twombly, 550

  U.S. at 555). The Supreme Court also explained that any pleading which merely




                                            13
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 20 of 36 PageID: 202




  “offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause

  of action’” will be subject to dismissal. Id.

        2.     Plaintiff Fails to Plead Any Viable Claims Against PayPal
               Holdings, PayPal’s Parent Company

        In his description of the parties in this matter, Plaintiff intertwines the two

  PayPal Defendants as one, alleging Defendant PayPal, Inc., PayPal Holdings, Inc.

  collectively “operate as a payment processor for online vendors worldwide, and

  conducts business within this District.” (Compl., ¶ 7). Plaintiff cannot state a claim

  against PayPal Holdings, Inc. by ignoring their distinct corporate forms and

  including conclusory allegations against both parties.

        PayPal Holdings, Inc. is the parent company of PayPal, Inc. (Potter Cert.

  ¶ 1). PayPal Holdings, Inc. is not a party to Plaintiff’s contract. (Potter Cert.,

  Exhibit B). Plaintiff has not made any specific allegations against PayPal Holdings,

  Inc., or otherwise identified why PayPal Holdings, Inc. has been named as a

  Defendant in this matter. To the extent Plaintiff has included PayPal Holdings, Inc.

  as a party under some agency theory, that theory fails as a matter of law.

        An agency analysis must focus on the authority or control over the specific

  alleged wrongdoing at issue. Phoenix Canada Oil Co. Ltd. v. Texaco, Inc., 842 F.2d

  1466, 1477 (3d Cir. 1988) (explaining that, for agency liability, proponent must

  demonstrate not only that “an arrangement exist[s] between the two corporations so

  that one acts on behalf of the other and within usual agency principles” but also that


                                            14
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 21 of 36 PageID: 203




  “the arrangement must be relevant to the plaintiff’s claim of wrongdoing”); B&B

  Fin. Servs., LLC v. RFGV Festivals, LLC, No. K18C-11-040, 2019 WL 5849770, *3

  (Del. Super. Ct. Nov. 7, 2019) (granting motion to dismiss vicarious liability claim

  and noting that principal is only “liable for torts committed by an agent … where the

  agent’s tortious conduct is undertaken pursuant to the agency relationship”); C.R.

  Bard, Inc. v. Guidant Corp., 997 F. Supp. 556, 560 (D. Del. 1998) (“[U]nder the

  agency theory ‘only the precise conduct shown to be instigated by the parent is

  attributed to the parent.”’). In the context of a parent-subsidiary relationship, the

  parent can be vicariously liable for the subsidiary’s conduct only to the extent “that

  the agent was acting on behalf of the principal and that the cause of action arises out

  of that relationship.” E.I. DuPont de Nemours & Co. v. Rhone Poulenc Fiber &

  Resin Intermediates, S.A.S., 269 F.3d 187, 198 (3d Cir. 2001) (holding that district

  court “correctly rejected” agency argument despite allegations of purported

  principal’s “intimate involvement”).

        Plaintiff has not alleged any facts in support of any agency claim against

  PayPal Holdings. Aside from indiscriminately grouping PayPal Holdings and

  PayPal together, Plaintiff has not made a single factual allegation regarding PayPal

  Holdings. For example, there is not a single allegation explaining the relationship

  between the parties or PayPal Holding’s involvement in the actions that allegedly

  serve as the basis for Plaintiff’s Complaint. If bare-bones allegations, like those



                                            15
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 22 of 36 PageID: 204




  made by the Plaintiff here, were sufficient to hold one entity liable for the actions of

  another, the scope of vicarious liability would be limitless, imposing liability on

  entities that neither engaged in nor controlled misconduct. However, that is simply

  not the law.    Accordingly, all claims against PayPal Holdings, Inc. must be

  dismissed.

        3.     Plaintiff’s Claims of Defamation, Fraud, and Intentional Infliction
               of Emotional Distress are Preempted by the FCRA

        Plaintiff’s defamation, fraud, and intentional infliction of emotional distress

  claims are expressly preempted by the FCRA and must be dismissed as a matter of

  law. Specifically, these common law claims are based on Plaintiff’s contention that

  the “Defendants [are] falsely reporting that Plaintiff is 120 days late on accounts

  SYNCH/PPMC” and/or violated the FCRA. (Compl., ¶¶ 41, 48, 83). However, the

  FCRA expressly preempts common law claims, such as those asserted here by

  Plaintiff, and these claims must therefore be dismissed as a matter of law.

        The FCRA expressly states that “[n]o requirement or prohibition may be

  imposed under the laws of any State ... with respect to any subject matter regulated

  under ... section 1681s–2 of this title, relating to the responsibilities of persons who

  furnish information to consumer reporting agencies.” Washington v. Freedom

  Mortg., No. 1:20-cv-09332, 2021 WL 1100637, at *3 (D.N.J. Mar. 23, 2021) (citing

  15 U.S.C. § 1681t(b)(1)(F)). This Court has found that the FCRA’s preemption

  extends to common law and statutory claims including claims of defamation, fraud,


                                            16
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 23 of 36 PageID: 205




  and intention infliction of emotional distress. See id.; see also Burrell v. DFS Servs.,

  LLC, 753 F. Supp. 2d 438, 451 (D.N.J. 2010) (“[Section 1681t(b)(1)(F)] leaves no

  room for state law claims against furnishers of information ... regardless of whether

  those claims are couched in terms of common law or state statutory obligations.”);

  Bertollini v. Harrison, No. 18-15355, 2019 WL 2296150, at *4 (D.N.J. May 30,

  2019) (finding that § 1681t(b)(1)(F) expressly preempts plaintiff’s state common

  law claims for defamation, fraud, and negligence); Tutanji v. Bank of Am., No. 12-

  887, 2012 WL 1964507, at *7 (D.N.J. May 31, 2012) (“[p]laintiff’s common law

  claims pertaining to [d]efendant’s credit reporting are preempted pursuant to 15

  U.S.C. § 1681t(b)(1)(F).”).

         Here, Plaintiff’s defamation, fraud, and intentional infliction of emotional

  distress claims fall squarely within the scope of FCRA preemption. These common

  law claims are premised on PayPal and PayPal Holding’s alleged “inaccurate

  reporting” and their purported failure to comply with the FCRA provisions.

  (Compl., ¶¶ 48, 58, 72, 73, 77, 83). As such, these state common law claims are

  expressly preempted by the FCRA and must therefore be dismissed as a matter of

  law.




                                            17
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 24 of 36 PageID: 206




        4.       Plaintiff’s Individual Causes of Action Against PayPal and PayPal
                 Holdings Fail

                 i.   Plaintiff Fails to State a Claim For Defamation

        Plaintiff’s defamation claim fails to allege any facts to support the

  fundamental elements of his claim. In order to state a valid claim for relief under

  Delaware law, a plaintiff bringing a claim for defamation must plead five elements:

  “(1) defamatory communication; (2) publication; (3) the communication refers to

  the plaintiff; (4) a third party’s understanding of the communication’s defamatory

  character; and (5) injury.” Wright v. Pepsi Cola Co., 243 F. Supp. 2d 117, 124 (D.

  Del. 2003).3

        Here, Plaintiff alleges “Defendants are falsely reporting that Plaintiff is 120

  days late on accounts(sic) SYNCB/PPMC, but the debt has not been proven to be

  owed by Plaintiff.” (Compl., ¶ 41, Ex. 15 (credit reporting on account ending -

  3506)). Plaintiff further alleges that “Defendants communicated the false inaccurate

  statement regarding account, SYNCB/PPMC, to multiple third parties, damaging the

  reputation of Plaintiff Marc Stephens.” (Compl., ¶ 42, Ex. 16). However, Plaintiff




  3
    Even if examined under New Jersey law, Plaintiff’s defamation claim fails to state
  a viable claim for relief. To bring a defamation claim under New Jersey law, a
  plaintiff must show: “(1) that defendants made a false and defamatory statement
  concerning [plaintiff]; (2) that the statement was communicated to another person
  (and not privileged); and (3) that defendants acted negligently or with actual malice.”
  G.D. v. Kenny, 205 N.J. 275, 292-93 (2011).


                                            18
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 25 of 36 PageID: 207




  has not and cannot allege that either PayPal or PayPal Holdings made the allegedly

  defamatory communication regarding his account being 120 days late. In fact, the

  exhibits Plaintiff filed with his Complaint reflect Plaintiff’s own admission that

  Synchrony Bank – not PayPal or PayPal Holdings – was the entity responsible for

  reporting the account as 120 days late. Plaintiff also alleges he wrote multiple letters

  attempting to have the account removed from his credit report. In each letter,

  Plaintiff identified Synchrony Bank – not PayPal or PayPal Holdings – as both the

  “creditor” and the “furnisher of information” on the account ending -3506. (See

  Compl., Ex. 11 (12/7/2021 letter), Ex. 12 (12/14/2021 letter), Ex. 13 (3/1/2022

  letter), and Ex. 14 (3/21/2022 letter)).

        Plaintiff has not identified any allegedly defamatory communication that

  refers to him that was published by PayPal or PayPal Holdings. Plaintiff has not

  alleged any third-party’s understanding of the communication’s defamatory

  character.   Last, Plaintiff has not alleged any injury related to any allegedly

  defamatory statement made by PayPal or PayPal Holdings.

        Thus, Plaintiff has not met the most basic requirements for making a

  defamation claim and Plaintiff cannot rely on conclusory statements and allegations

  directed at all “Defendants” to support his claims. Iqbal, 556 U.S. at 663 (citing

  Twombly, 550 U.S. at 555). For these reasons, Plaintiff’s defamation claim fails as

  a matter of law and must be dismissed.



                                             19
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 26 of 36 PageID: 208




                ii.    Plaintiff’s Fraud Claim Fails As A Matter of Law

         Plaintiff’s fraud claim fails to state a plausible claim for relief against PayPal

  and PayPal Holdings. Under Delaware law, in order to maintain a claim for fraud,

  Plaintiff must plead “1) a false representation, usually one of fact, made by the

  defendant; 2) the defendant’s knowledge or belief that the representation was false,

  or was made with reckless indifference to the truth; 3) an intent to induce the plaintiff

  to act or to refrain from acting; 4) the plaintiff's action or inaction taken in justifiable

  reliance upon the representation; and 5) damage to the plaintiff as a result of such

  reliance.” Stephenson v. Capano Dev., Inc., 462 A.2d 1069, 1074 (Del. 1983).4

  Plaintiff has not pled a claim for fraud that could possibly be maintained against

  PayPal or PayPal Holdings.

         Plaintiff has not alleged that any false representation was made by PayPal or

  PayPal Holdings. Plaintiff has not alleged that any representation was made to him

  by PayPal or PayPal Holdings, knowing it was false or with reckless indifference to

  the truth. Plaintiff has not alleged that PayPal or PayPal Holdings intended to induce



  4
   Plaintiff has not and cannot state a fraud claim under New Jersey law. To state a
  claim under New Jersey law, the Plaintiff must allege a defendant (1) made a false
  representation of a material fact, (2) knew or should have known that the
  representation was false, and (3) intended to induce the plaintiff to rely on the
  representation. See Banco Popular N. Am. v. Gandi, 184 N.J. 161, 172-73 (2005).
  In addition, the plaintiff: (4) must have actually relied on the representation in a
  manner justifiable under the circumstances and (5) suffered damage as a result of his
  reliance. See id.


                                              20
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 27 of 36 PageID: 209




  him to act or refrain from acting. Plaintiff has not claimed he took any action or

  refrained from taking any action in justifiable reliance on a representation. Lastly,

  Plaintiff has not identified any damages he suffered as a result of any reliance.

          Plaintiff has not pled any of the elements necessary to maintain a fraud claim

  against PayPal or PayPal Holdings. As such, the fraud claim must be dismissed.

                iii.   Plaintiff’s FCRA Claims Must be Dismissed against PayPal
                       and PayPal Holdings

          Plaintiff’s FCRA claims against PayPal and PayPal Holdings are

  fundamentally flawed and should be dismissed as a matter of law.

          First, Plaintiff asserts claims against the “Defendants,” presumably including

  PayPal and PayPal Holdings for violations of §1681e(b), §1681i, §1681s-2(b),

  §1681b(a), and §1681g. (Compl., ¶¶ 60, 61). Yet, the obligations under §1681e,

  §1681i, §1681b(a), and §1681g apply only to “credit reporting agencies” under the

  Act.5    PayPal and/or PayPal Holdings are not alleged to be “credit reporting




  5
    See Davenport v. Capio Partners LLC, No. 1:20-cv-01700, 2021 WL 1666977, at
  *9 (M.D. Pa. Apr. 28, 2021), reconsideration denied, No. 1:20-cv-01700, 2022 WL
  202952 (M.D. Pa. Jan. 21, 2022) (granted motion to dismiss where plaintiff sought
  to apply §1681e(b) against furnisher); see also Farren v. RJM Acquisition Funding,
  LLC, No. 04-995, 2005 WL 1799413, at *7 (E.D. Pa. July 26, 2005).




                                            21
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 28 of 36 PageID: 210




  agencies” under the FCRA and therefore Plaintiff’s claims under these sections fail

  to state a viable claim for relief.6

         Second, Plaintiff’s claim for violations of §1681s-2(b) relates only to the

  obligations of “furnishers” under the FCRA. “Furnishers” are defined as “an entity

  that furnishes information relating to consumers to one or more consumer reporting

  agencies for inclusion in a consumer report.” 16 C.F.R. § 660.2(c). Aside from

  Plaintiff’s conclusory allegations, there is nothing to suggest that PayPal or PayPal

  Holdings furnished any information relating to Plaintiff to any credit reporting

  agencies. Instead, Plaintiff alleges that the disputes relating to his SYNCB/PPMC

  Account were communicated to various individuals at “Synchrony.” (Compl., ¶¶

  23, 28).    However, these communications, which were attached to Plaintiff’s

  Complaint, show that Synchrony, not PayPal or PayPal Holdings, was the

  “furnisher” on his SYNCB/PPMC Account. As such, Plaintiff’s FCRA claims

  against PayPal and PayPal Holdings must be dismissed because he has failed to

  plead any allegations that suggest either entity is a “credit reporting agency” or

  “furnisher” under the FCRA.



  6
    “The term ‘consumer reporting agency’ means any person which, for monetary
  fees, dues, or on a cooperative nonprofit basis, regularly engages in whole or in part
  in the practice of assembling or evaluating consumer credit information or other
  information on consumers for the purpose of furnishing consumer reports to third
  parties, and which uses any means or facility of interstate commerce for the purpose
  of preparing or furnishing consumer reports.” 15 U.S.C. § 1681a.


                                           22
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 29 of 36 PageID: 211




        Third, even if Plaintiff could sufficiently allege PayPal and/or PayPal

  Holdings were a “furnisher” under the FCRA, which he cannot, he fails to plausibly

  state a claim for relief under §1681s-2(b). In order to state a claim against a furnisher

  of information under this provision, a plaintiff must plead that he/she: “(1) sent

  notice of disputed information to a consumer reporting agency, (2) the consumer

  reporting agency then notified the defendant furnisher of the dispute, and (3) the

  furnisher failed to investigate and modify the inaccurate information.” Egues v.

  Nelnet Servicing, LLC, No. 21-802, 2021 WL 3486904, at *2 (D.N.J. Aug. 9, 2021).

  “To satisfy Twombly-Iqbal, a consumer must include some factual details on these

  elements to show that his right to relief is plausible.” Gatanas v. Am. Honda Fin.

  Corp., No. 20-07788, 2020 WL 7137854, at *2 (D.N.J. Dec. 7, 2020) (citing Bello

  v. Capital One Bank (USA) N.A., No. 20-01218, 2020 WL 728804, at *3 (D.N.J.

  Feb. 13, 2020); Visconti v. Trans Union, LLC, No. 19-00581, 2019 WL 5418093, at

  *4 (D.N.J. Oct. 23, 2019)).

        Plaintiff’s Complaint fails to allege the fundamental elements of his FCRA

  claims because he has not, and cannot, allege any factual detail, to indicate that any

  notice was ever sent to PayPal or PayPal Holdings. As described above, the facts do

  not suggest PayPal or PayPal Holdings were the furnisher and there is nothing to

  suggest that it would have ever received any notice from the credit reporting agencies

  relating to his alleged credit dispute.



                                             23
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 30 of 36 PageID: 212




        Finally, Plaintiff fails to sufficiently allege any inaccuracy in reporting that

  could serve as the basis of his FCRA claims. Instead, the crux of Plaintiff’s claim

  relates to his contention that “the Defendants” failed to validate or provide him proof

  of the obligation.    (Compl., ¶¶ 20-27, 38).      This is not the type of “factual

  inaccuracy” that could support a FCRA claim against PayPal or PayPal Holdings.

  See Hunt v. JPMorgan Chase Bank, Nat’l Ass’n, 770 F. App’x 452, 458 (11th Cir.

  2019) (“A plaintiff must show a factual inaccuracy rather than the existence of

  disputed legal questions to bring suit against a furnisher under § 1681s-2(b).”); see

  also Chiang v. Verizon New England Inc., 595 F.3d 26, 38 (1st Cir. 2010) (“We

  emphasize that, just as in suits against CRAs, a plaintiff’s required showing is factual

  inaccuracy, rather than the existence of disputed legal questions.”).

        Courts have considered similar allegations and found they could not plausibly

  state an FCRA claim. See Myers v. Midland Credit Mgmt., Inc., No. 1:13-cv-2455,

  2014 WL 981311, at *5 (M.D. Pa. Mar. 13, 2014) (“to the extent Myers seeks to

  impose liability upon Defendants due to their failure to provide her with certain

  specific pieces of information … does not require a furnisher like Midland to provide

  such information, even if the consumer requests it…[and] [l]ikewise, as outlined

  above, §1681s–2(b) did not obligate Midland to supply the Plaintiff with this

  documentation.”).




                                            24
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 31 of 36 PageID: 213




        As such, Plaintiff’s FCRA claims against PayPal and PayPal Holdings fail to

  state a plausible claim for relief and must be dismissed as a matter of law.

               iv.    Plaintiff Fails to State Viable Claims for Breach of Contract
                      and Breach of Good Faith and Fair Dealing

        Plaintiff’s breach of contract and good faith and fair dealing claims fail to

  plausibly state a claim for relief. Specifically, Plaintiff’s Complaint fails to allege

  facts sufficient to demonstrate the essential elements of these claims and therefore

  fail as a matter of law.

        In order to survive a motion to dismiss for failure to state a breach of contract

  claim, the plaintiff must allege: (1) the existence of the contract, whether express or

  implied; (2) the breach of an obligation imposed by that contract; and (3) the

  resultant damage to the plaintiff.7 Winston v. Mandor, 710 A.2d 835, 840 (Del. Ch.

  1997).




  7
    Plaintiff’s breach of contract claim would similarly fail under New Jersey law.
  Under New Jersey law, a plaintiff asserting a breach of contract claim must allege:
  (1) a valid contract existed; (2) a party breached this contract; (3) the non-breaching
  party performed under the contract; and (4) the non-breaching party was damaged
  as a result of the breach. Video Pipeline, Inc. v. Buena Vista Home Ent., Inc., 275
  F. Supp. 2d 543, 566 (D.N.J. 2003). As the party bringing a claim for breach of
  contract, Plaintiff has the burden to plead facts sufficient to establish all elements of
  the claim. See Cumberland Cnty. Improvement Auth. v. GSP Recycling Co., 358
  N.J. Super. 484, 503 (App. Div. 2003).



                                             25
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 32 of 36 PageID: 214




        Plaintiff’s breach of contract claim is based on his contention that PayPal

  withdrew $515 from his PayPal Account based on an allegedly unauthorized

  transaction. (Compl., ¶ 10). Plaintiff contends that this refund was improper

  because it did not qualify for “PayPal Purchase Protection” plan. (Compl., ¶ 12).

  However, PayPal maintains the express authority to invalidate and reverse

  transactions where a transaction was “unauthorized,” regardless of whether any

  “Purchase Protection” plan applied. (Potter Cert., Exhibit B, pg. 17). The 2017

  User Agreement expressly states that payments may be invalidated and reversed

  where “[t]he payment was unauthorized….” (Id.). Thus, Plaintiff’s contention that

  PayPal breached the terms of the User Agreement when it reversed a payment that

  did not qualify for “Purchase Protection” is misplaced. Plaintiff’s breach of contract

  claim therefore fails to state a valid claim for relief because he has not and cannot

  sufficiently identify any contractual term that was allegedly breached by PayPal.

        Plaintiff’s claim for breach of the implied covenant of good faith and fair

  dealing is also improperly pled. “The implied covenant of good faith and fair dealing

  inheres in every contract and ‘requires a party in a contractual relationship to refrain

  from arbitrary or unreasonable conduct which has the effect of preventing the other

  party to the contract from receiving the fruits’ of the bargain.’”8 Kuroda v. SPJS



  8
   Plaintiff’s claim that PayPal breached the implied covenant of good faith and fair
  dealing likewise fails under New Jersey law. Under New Jersey law, the implied


                                            26
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 33 of 36 PageID: 215




  Holdings, L.L.C., 971 A.2d 872, 888 (Del. Ch. 2009) (citing Dunlap v. State Farm

  Fire & Cas. Co., 878 A.2d 434, 442 (Del. 2005)). The implied covenant cannot be

  invoked to override the express terms of the contract. Id. (citing Dave Greytak

  Enters., Inc. v. Mazda Motors of Am., Inc., 622 A.2d 14, 23 (Del. Ch. 1992))

  (“[W]here the subject at issue is expressly covered by the contract, or where the

  contract is intentionally silent as to that subject, the implied duty to perform in good

  faith does not come into play.”). To state a claim for breach of the implied covenant,

  a plaintiff “must allege a specific implied contractual obligation, a breach of that

  obligation by the defendant, and resulting damage to the plaintiff.” Id. (citing

  Fitzgerald v. Cantor, No. 16297, 1998 WL 842316, at *1 (Del.Ch. Nov. 10, 1998)).

        As set forth above, the 2017 User Agreement expressly permits the types of

  reversal that is the subject of Plaintiff’s Complaint and it cannot therefore provide a

  basis of breach of good faith and fair dealing. Further, there are no allegations that

  that could be characterized as “unreasonable conduct” that prevented Plaintiff from



  covenant of good faith and fair dealing precludes the contracting parties from acting
  in a manner that “destroy[s] or injur[es] the right of the other party to receive the
  fruits of the contract,” and the implied covenant does not exist in the absence of a
  contract. Wade v. Kessler Institute, 343 N.J. Super. 338, 345 (App. Div. 2001) (citing
  Noye v. Hoffmann-LaRoce, Inc., 238 N.J. Super. 430, 434 (App. Div.), cert. denied,
  122 N.J. 146 (1990)). A plaintiff “cannot maintain a claim for breach of the implied
  covenant of good faith and fair dealing when the conduct at issue is governed by the
  terms of an express contract or the cause of action arises out of the same conduct
  underlying the alleged breach of contract.” Evonik Corp. v. Hercules Grp., Inc., No.
  16-7098, 2018 WL 5095991, at *9 (D.N.J. Oct. 18, 2018).


                                            27
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 34 of 36 PageID: 216




  receiving the fruits of the underlying agreement. To the extent that Plaintiff’s breach

  of good faith and fair dealing claim is based upon his contention that PayPal “put a

  hold on his account,” this too is expressly permitted by the 2017 User Agreement

  and cannot serve as the basis for his breach of good faith and fair dealing claim.

  Specifically, the 2017 User Agreement permits PayPal to place a hold on a

  consumer’s account in its sole discretion based on, among other things, its “risk

  decisions” as described in the User Agreement or where there was a “disputed

  transaction.” (Potter Cert., Exhibit B, pg. 24). As set forth above, Plaintiff’s breach

  of good faith and fair dealing claim cannot survive where, as here, he is attempting

  to override the express terms of the contract.9 Kuroda, 971 A.2d at 888.

        Based on the foregoing, Plaintiff’s breach of contract and good faith and fair

  dealing claims must be dismissed as a matter of law.

               v.     Plaintiff Has Not And Cannot State a Claim for Intentional
                      Infliction of Emotional Distress Against PayPal or PayPal
                      Holdings

        Plaintiff’s claim for intentional infliction of emotional distress is entirely

  baseless and fails to state a valid claim for relief. Under Delaware law, in order to

  plead a claim for intentional infliction of emotional distress, a plaintiff must show




  9
   Plaintiff does not, because he cannot, allege that PayPal breached the terms of the
  User Agreement by placing his account on hold for a period of time.



                                            28
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 35 of 36 PageID: 217




  that a defendant intentionally or recklessly caused severe emotional distress to the

  plaintiff by engaging in extreme and outrageous conduct.10 Shiyanbola v. Amazon,

  LLC, No. N17C-08-302, 2018 WL 1216098, at *2 (Del. Super. Ct. Mar. 8, 2018)

  (citing Spence v. Cherian, 135 A.3d 1282, 1288 (Del. Super. 2016)). Extreme and

  outrageous conduct must be “so outrageous in character, and so extreme in degree,

  as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

  utterly intolerable in a civilized community.” Id. (citing Farmer v. Wilson, No. 91C-

  09-023, 1992 WL 331450, at *4 (Del. Super. Sept. 29, 1992)).

        Plaintiff fails to allege the type of “extreme and outrageous conduct” that

  could sustain an intentional infliction of emotional distress claim. Instead, Plaintiff’s

  claims relating to his supposed emotional distress are premised on his contention

  that PayPal and PayPal Holdings continued to inaccurately report the subject

  accounts on his credit. (Compl., ¶¶ 83-84). This is simply not the type of “extreme




  10
     Plaintiff’s intentional infliction of emotional distress also fails to state a valid
  claim for relief under New Jersey law. In order to state a valid claim for intentional
  infliction of emotional distress under New Jersey law, a plaintiff must establish
  “intentional and outrageous conduct by the defendant, proximate cause, and distress
  that is severe.” Buckley v. Trenton Savings Fund Society, 111 N.J. 355, 366 (1988).
  Moreover, the plaintiff must establish facts that support a conclusion that the
  defendant acted intentionally or recklessly and intended both the act and to produce
  emotional distress. Id. In addition, the defendant’s conduct must be, “so outrageous
  in character and so extreme in degree, as to go beyond all possible bounds of
  decency, and to be regarded as atrocious, and utterly intolerable in a civilized
  community.” Id.


                                             29
Case 2:22-cv-01940-MCA-JBC Document 19-1 Filed 08/29/22 Page 36 of 36 PageID: 218




  and outrageous conduct” that could sustain his intentional infliction of emotional

  distress claim. Shiyanbola, 2018 WL 1216098, at *2. Further, Plaintiff’s claim that

  PayPal and PayPal Holdings inaccurately reported on his credit is not supported by

  any factual allegations for the reasons set forth above and thus cannot sustain an

  intentional infliction of emotional distress claim.

  IV.   CONCLUSION

        For the reasons set forth in detail above, PayPal and PayPal Holdings’ Motion

  to Compel should be granted and Plaintiff should be required to arbitrate his claims.

  In the alternative, Plaintiff’s claims against PayPal and PayPal Holdings cannot state

  a valid claim for relief and must be dismissed as a matter of law.

                                   Respectfully submitted,

                                   SAUL EWING ARNSTEIN & LEHR LLP

                                   By: /s/ Ryan L. DiClemente
                                      Ryan L. DiClemente

  Dated: August 29, 2022




                                            30
